41 F.3d 1519NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.
    NTN BEARING CORPORATION OF AMERICA, American NTN BearingManufacturing Corporation and NTN Corporation,Plaintiffs-Appellants,v.The UNITED STATES, U.S. Department of Commerce, and RonBrown, Secretary of Commerce, Defendants-Appellees,andThe Timken Company, Defendant.
    No. 94-1271.
    United States Court of Appeals, Federal Circuit.
    Nov. 7, 1994.
    
      Before ARCHER, Chief Judge, NIES and LOURIE, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      AFFIRMED.  See Fed.Cir.R. 36.
    
    